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                                                                                                     E-FILED
                                                                 Wednesday, 10 October, 2018 09:00:51 AM
                                                                             Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

 NATURAL RESOURCES DEFENSE
 COUNCIL, INC.; RESPIRATORY HEALTH
 ASSOCIATION; and SIERRA CLUB, INC.,

 Plaintiffs,                                       Case No. 13-cv-01181
                                                   United States District Judge
                              v.                   Joe Billy McDade

 ILLINOIS POWER RESOURCES                          Magistrate Judge
 GENERATING, LLC,                                  Thomas P. Schanzle-Haskins III

 Defendant.


       PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR LEAVE
 TO FILE REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE THE TESTIMONY
         OF DR. JOEL SCHWARTZ AND MOTION FOR LEAVE TO FILE
                 OVERLONG SUMMARY JUDGMENT REPLY

        Defendant Illinois Power Resources Generating, LLC (IPRG) has moved for leave to file

an overlong reply in support of its motion for summary judgment, see ECF No. 208, and for

leave to file a reply in support of its motion to exclude the testimony of Dr. Joel Schwartz, see

ECF No. 211. IPRG did not consult with Plaintiffs about either motion before filing it. Plaintiffs

take no position on the overlong summary judgment reply. They oppose the reply in support of

the motion to exclude for the following reasons.

        This Court has the discretion to permit a reply when “the opposing [brief] has introduced

new and unexpected issues,” but “does not typically permit the moving party to file a reply in

order to introduce new arguments or evidence that could have been included in the motion itself,

or to rehash arguments made in the motion.” Order & Op., ECF No. 130, at 12-13; see also

Shefts v. Petrakis, 10-cv-1104, 2011 WL 5930469, at *8 (C.D. Ill. Nov. 29, 2011) (same).
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       IPRG does not identify any “new or unexpected issues” in Plaintiffs’ response to its

motion to exclude Dr. Schwartz, see ECF No. 193, that justify a reply. IPRG’s proposed reply

instead improperly presents new arguments about aspects of Dr. Schwartz’s testimony that IPRG

was aware of when it moved to exclude, see, e.g., ECF No. 211-1 at 2 (discussing Dr. Schwartz’s

linearity and no-threshold assumptions, also referenced in IPRG’s opening brief, see ECF No.

183 at 2, 14), and expands upon earlier arguments, see, e.g., id. at 2 n.2 (discussing study also

referenced in its opening brief, see ECF No. 183 at 9); id. at 3 (discussing Krik v. ExxonMobil

Corp., 870 F.3d 669 (7th Cir. 2017), also cited in its opening brief, ECF No. 183 at 15).

       IPRG’s proposed reply is also untimely. Even in the summary judgment context, where

the Local Rules allow longer-than-normal briefing intervals, replies are due two weeks after

responses. See CDIL-LR 7.1(D)(3). IPRG waited three. See ECF No. 193 (Plaintiffs’ response

brief, timely filed two weeks after IPRG’s opening brief, ECF No. 183, on September 14).

       Because IPRG’s motion and Plaintiffs’ opposition “adequately set out the issues and

arguments,” the Court should deny leave to file a reply. See Ripmax Ltd. v. Horizon Hobby, Inc.,

07-cv-2133, 2008 WL 5385538, at *2 (C.D. Ill. Dec. 18, 2008). If the Court considers the reply,

Plaintiffs respectfully request that it also consider the attached proposed 1.5-page surreply.


                                              Respectfully submitted October 10, 2018,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2018, I caused the following to be served on all

parties’ counsel via the Court’s CM/ECF system:

   PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR LEAVE TO FILE
  REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE THE TESTIMONY OF DR.
 JOEL SCHWARTZ AND MOTION FOR LEAVE TO FILE OVERLONG SUMMARY
                          JUDGMENT REPLY

    PLAINTIFFS’ [PROPOSED] SURREPLY IN OPPOSITION TO DEFENDANT
  ILLINOIS POWER RESOURCES GENERATING, LLC’S MOTION TO EXCLUDE
                THE TESTIMONY OF DR. JOEL SCHWARTZ

                                                    s/ Jared E. Knicley
                                                    Jared E. Knicley




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